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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION



 YASSER GABER ABOU EL HADIED
 MOHAMED ALI,

       Plaintiff,

 v.                                                      CASE NO. 1:12-cv-560 (CMH/TCB)

 RONALD D'EMORY COLEMAN, ESQ., et al.,


       Defendants.



                     STIPULATION OF DISMISSAL WITH PREJUDICE

        IT IS HEREBY STIPULATED AND AGREED, by and between the parties, through

 their respective attorneys, that the above-captioned case shall be dismissed with prejudice

 pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear its own costs

 and attorney’s fees. The case may now be closed.

        IT IS SO ORDERED.

        Entered this ___ day of November, 2013.


                                                      _____________________________
                                                      Hon. Claude Hilton
                                                      United States District Court Judge
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 Dated: October 31, 2013                  Respectfully submitted

                                          YASSER GABER ABOU EL HADIED
                                          MOHAMED ALI,
                                          By Counsel

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                                                    and Tysons Law Group, PLLC

                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY on this 31st day of October, 2013, I electronically filed the foregoing with
 the Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to the
 counsel of record.

                                                    /s/_________________
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